               Case 2:16-cr-00015-WFN                       ECF No. 99                 filed 07/01/16       PageID.339 Page 1 of 7
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                                                                                                                                                   DEPUTY

                                             Eastern District of Washington
             T'NITED STATES OF AMERICA                                      JUDGMENT IN A CRTMINAL CASE
                                  v.
                                                                            Case Numbcr: 2: l6CR000l5-rLQ-2
                     ERIC DON LANG1ON
                                                                            USM Number: 16152.046

                                                                                 Curran C. Dcmpsey
                                                                            Defendlnt's Atorney




  E
  THE DEFENDANT:

  fflcaduU guilry ro count(s) I of rhc                       lndictmeot
 El pleadcd nolo conlcodrrc. to coun(s)
     rvhich sos oecepcd by rhc oourt.

 I rvu fornrl guilty on couot(st
     aflu r plca of nor guilty.

 l'hs dr.fcrdmt is adjudicarrrl guilr.v of thesc o0bnses:

  Tillc & Scction                          Nrlurt of Olfsnrc                                                                    Oflcnse Enrlcd Court
! I U.s.c. g E4 t (aX I ), (bX I XC)    Conspiracy to Possess u,irh lmenr m Distribure a Mixturc lnd Suberoncc                      l0/30/t5             I
    and t46                             Contnining a Dctcctablc Amount of Mcrhamphctaminc




        Thc dcfcndanr is scnrsrccd as proridcd in pagcs 2 through                            ol'thisFdgnrrnt. 'llrc scntcncr is imgrsed pursuailto
 thc Scntcncing Rcform Act of l9t{.

 tr Ttrc dcfcndmt has bccn found not guilty on counr(s)
 E Counr{s)                                             D is E are dhmiscd on lhc motion of rhc Unircd Srsrcs.

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                                                              6ttoaot6




                                                            Ths Honor$lc Justin L. Quackcnbush               Scnior ludgs. U.S. Distrio Court
                                                            Nunc lrd TiUe of lrrrltc
             Case 2:16-cr-00015-WFN                  ECF No. 99          filed 07/01/16          PageID.340 Page 2 of 7

AO 2458 (Rev. 02116) Judgment in Criminal Case
           Sheet 2        Imprisonnrent
                     -
                                                                                                   Judgment       Page
                                                                                                              -
DEFENDANT: nruC DON LANGTON
CASE NUMBER: 2:16CR00015-JLQ-2


                                                         IMPRISONMENT

        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of:                 30 month(s)




   {    fn"couft makes the following recommendations to the Bureau of Prisons:

'befendant to participate in the Bureau of Prisons' 500 hour residential drug abuse treatment program (RDAP). Defendant to be housed in
  a Bureau of Prisons facility in Southem California.




   d    The defendant is remanded to the custody of the United States Marshal.


   tr The defendant shall surrender to the United States Marshal for this district:
      tl at                                  tr a.m. E p.r. on
      tr as notified by the United States Marshal.
   tr The defendant shall surrender for service ofsentence at the institution designated by the Bureau ofPrisons:
      n before 2 p.m. on
      n as notified by the United States Marshal.
      n as notified by the Probation or Pretrial Services Office.

                                                                RETURN
 I have executed this judgment as follows:




        Defendant delivered on

                                                    with a certified copy of this.iudgment.



                                                                                                 LINITED STATES MARSHAL



                                                                       By
                                                                                              DEPUTY LIN]TED STATES MARSHAL
               Case 2:16-cr-00015-WFN                  ECF No. 99         filed 07/01/16         PageID.341 Page 3 of 7


AO 2458 (Rev. 02116) Judgment in a Criminal Case
             Sheet 3       Supervised Release
                       -
                                                                                                       Judgment-Page 3          or
                                                                                                                                          7
 DEFENDANT: ERIC DON LANGTON
 CASE NUMBER: 2:16CR00015-JLQ-2
                                                       SUPERVISED RELEASE
 Upon release frorn imprisonment, the defendant shall be on supervised release for a term of :      3 yea(s)

 The defendant must comply with the standard conditions of supervision as well as with any special conditions olsupervision set forth below:




                                                STANDARD CONDITIONS OF SUPERVISION

      (l) The defendant shall not commit another federal, state or local crime.
      (2) ftre defendant shall not untawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
          controlled substance, including marijuana, which remains itlegal ur.rder federal law. Tlre defendant shall submit to one drug test
          within l5 days of release from imprisonment and at least two periodic drug tests thereafter, as deternrined by the court,

          tr  The above drug testing is suspended, based on the court's determination that the defendant poses a low risk of future
          substance abuse. (Check, if applicable.)

      (3) d    fn. defendant must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon
          (i.e., anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person,
          such as nunchakus or tasers.) (Check, ifappliaable.)

      () {   The defendant shall cooperate in the collection of DNA as directed by the probation otlicer. (Check, if applicable, see 42
          U.S.C. $ l1l35a(d)(all felonies, crimes under Ch. 109A, crimes of violence, and altempts or conspiracy to commil these
          crimes.) 1
      (5) tr ftre defendant shall comply with the requirements of the Sex Offender Registratiorr and Notification Act (42 L'.S.C S
          16901, et seq.) as directed by the probation ofhcer, the Bureau ofPrisons, or any state sex offender registration agency in
          which he or she resides, works, is a student, or was convicted of a quali&ing offense. (Check, if applicable.)

      (0 tr fne defendant shall participate in an approved program for domestic violence if one exists within a 50-mile radius of
         defendant's legal residence. (Check, if applicable, see 18 U.S.C. S 3583(d) for defendants corwicted of a domestic violence
          crime defined in $ 3561(b).)

      (7) If this judgment imposes restitution, a fine, or special assessment, it is a condition of supervised release that the defendant pay
          in accordance with the Schedule of Payrnents sheet of this judgment. The defendant shall noti$r the probation officer of any
          material change in the defendant's econonric circumstances that might affect the defendant's ability to pay any unpaid amount
          ofrestitution, fine, or special assessments.

      (S) The defendant must report to the probation office in the federal judicial district where he or she is authorized to reside within
          72 hours of release frorn imprisonment, unless the probation officer tells the defendant to repoft to a different probation office
          or within a different time frame.

      (9) After initially reporting to the probation office, the defendant will receive instructions from the court ot the probation officer
          about how and when to report to the probation officer, and the defendant must report to the probation officer as instructed.

     (10) The defendant must not knowingly leave the federal judicial district where he or she is authorized to reside without first getting
          permission from the court or the probation officer.
             Case 2:16-cr-00015-WFN                  ECF No. 99            filed 07/01/16       PageID.342 Page 4 of 7


AO 2458 (Rev. 02116) Judgment rn a Criminal Case
        Sheet 3A     Supervised Release
                    -
                                                                                                      Judgment-Page
                                                                                                                          4    ot
                                                                                                                                        7
 DEFENDANT: ERIC DON LANGTON
 CASE NUMBER: 2:16CR00015-JLQ-2

                              STANDARD CONDITIONS OF SUPERVISION (Continued)
      (lf) The defendant must be truthful when responding to the questions asked by the probation officer,
      (12) The defendant must live at a place approved by the probation officer. Ifthe defendant plans to change where he or she lives
            or anything about his or her living arrangements (such as the people the defendant lives with), the defendant rnust noti$ the
            probation officer at least l0 calendar days before the change. Ifnotifling the probation officer in advance is not possible due
            to unanticipated circumstances, the defendant must notifu the probation officer within 72 hours of becoming aware of a
            change or expected change.

       (13) The defendant must allow the probation officer to visit the defendant at reasonable times at his or her home or elsewhere, and
            the defendant mr.rst permit the probation officer to take any items prohibited by the conditions of the defendant's supervision
            that he or she observes in plain view.

       (14) The defendant must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation offrcer
            excuses the defendant from doing so. If the defendant does not have full-time employment he or she must try to find full-time
            employment, unless the probation officer excuses the defendant from doing so. If the defendant plans to change where the
            defendant works or anything about his or her work (such as the position or thejob responsibilities), the defendant must noti!
            the probation officer at least l0 calendar days before the change. Ifnotifying the probation officer in advance is not possible
            due to unanticipated circumstances, the defendant must notiff the probation officer within 72 hours of becoming aware of a
            change or expected change.

       (15) The defendant must not communicate or interact with someone the defendant knows is engaged in criminal activity. If the
            defendant knows someone has been convicted of a felony, the defendant must no1 knowingly communicate or interact with
            that person without first getting the pernrissiotr of the probation officer,

       (16) If the defendant is arrested or has any official contact with a law enforcement officer in a civil or crirninal investigative
            capacify, the defendant must notifli the probation officer within 72 hours.

       (17) The defendant must not act or make any agreement with a law enforcement agency to act as a confidential human source or
            informant without first getting the permission of the court.

       (18) The defendant must follow the instructions ofthe probation officer related to the conditions ofsupervision.
           Case 2:16-cr-00015-WFN                     ECF No. 99       filed 07/01/16         PageID.343 Page 5 of 7

AO 2458    (Rev. 02116) Judgment in a Criminal Case
           Sheet 3D     Supervised Release
                    -
                                                                                                    Judgment-Page
DEFENDANT: BRIC DoN LANGTON
CASE NUMBER: 2:16CR00015-JLQ-2

                                         SPECIAL CONDITIONS OF SUPERVISION
 l9) The defendant shall complete a mental health evaluation and follow any treatment recommendations of the evaluating professional
 which do not require forced or psychotropic medication and/or inpatient confinement, absent further order of the court. The defendant
 shall allow reciprocal release of information between the supervising officer and treatment provider. The defendant shall contribute to
 the cost of treatment according to his ability to pay.

 20) The defendant shall participate in a vocational services program as directed by the supervising officer. Such programs may include
 job readiness training and skills development training.

 21) The defendant shall not enter into or remain in any establishment where alcohol is the primary item of sale. The defendant shall
 abstain from alcohol and shall submit to urinalysis and Breathalyzer testing as directed by the superuising officer, but no more than 6
 tests per month, in order to confirm continued abstinence from this substance.

 22) The defendant shall abstain from the use of illegal controlled substancos, and shall submit to urinalysis and sweat patch testing, as
 directed by the supervising officer, but no more than 6 tests per month, in order to confirm continued abstinence from these substances.

 23) The defendant shall undergo a substance abuse evaluation and, if indicated by a licensed/ceftified treatment provider, enter into and
 successfully complete an approved substance abuse treatment program, which could include inpatient treatment and aftercare upon
 further order ofthe court. The defendant shall contribute to the cost oftreatment according to his ability to pay. The defendant shall
 allow full reciprocal disclosure between the supervising officer and treatment provider.

 24) The defendant shall submit hisiher person, residence, office, vehicle and belongings to a search, conducted by a probation officer,
 at a sensible time and manner, based upon reasonable suspicion of contraband or evidence of violation of a condition of supervision.
 Failure to submit to search may be grounds for revocation. The defendant shall warn persons with whom helshe shares a residence that
 the premises may be subject to search,
              Case 2:16-cr-00015-WFN                   ECF No. 99             filed 07/01/16        PageID.344 Page 6 of 7
AO 2458 (Rev. 02l16) Judgment rn a Crimrnal Case
        Sheet 5    Criminal Monetarv Penalties
                   -
                                                                                                     Judgment       Page       of
                                                                                                                -
 DEFENDANT: BRIC DON LANGTON
 CASE NUMBER: 2:16CRo0ol5-JLe,2
                                             CRIMINAL MONETAITY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment                                      Fine                                 Restitution
 TOTALS                $ 100.00                                        $0.00                                $0.00



tr The determination of restitution is def-erred until               An Amended Judgment in a Criminal Case(AO 245C) will be entered
      after such determination.

tr The del-endant must make restitution (including community restitution) to the lbllowing payees in the arnount listed below.
      llthe del'endant makes a oat'tial Davment. each pavee shall receive an approximately proportioned payment, unless specilied otherwise in
      the prioritv orderor perc6ntage layment coluninbelow. Horvever. puiduant to l8'U.S.C. $ 3664(l).'all nonlederal victims must be paid
      belcire the"United Stdtes is paid.'

Name of Payee                                                           Iglelfss:            Restitution Ordered Priority or Percentage




 TOTALS                                                       0.00                                   0.00



 n      Restitution amount ordered pursuant to plea agreement $

 tr     The defendant must pay interest on restitution and a hne of more than $2,500, unless the restitution or line is paid in full before the
        fifteenth day after the date of the judgment, pursuant to t8 U.S.C, $ 3612(0. All of the payment options on Sheet 6 n.ray be subject
        to penalties for delinquency and default, pursuant to l8 U.S.C. $ 3612(g).

 tr     The court determined that the def'endant does not have the ability to pay interest and it is ordered that:

        !                                       the n fine fl restitution.
             the interest requirement is waived fbr

        fl   the interest requirement for the tr flne ! restitution is modified as follows:



 * Findingsforthe total arDuntof losses are required underChapters 109A, 110, 110A, and ll3,{ of Title 18 fbroffenses committed on or after
 Septemb"er 13, 1994. but before April 23. 1996.
             Case 2:16-cr-00015-WFN                        ECF No. 99           filed 07/01/16          PageID.345 Page 7 of 7
AO 2458 (Rev. 02116) Judgment in a Criminal Case
            Sheet 6       Schedule of Payments
                      -
                                                                                                             Judgment       Page        of
                                                                                                                        -
 DEFENDANT: nRrC DONLANGTON
 CASE NUMBER: 2:16CR00015-JLQ-2

                                                        SCHEDULE OF PAYMENTS

 Having assessed the def'endant's ability to pay, payrnent of the total crinrinal monetary penalties are due as tbllows:

 A !        Lump sum payment of $                                due immediately, balance due


            tr    not later than                                      ,or
            n     in accordance                  n C, fl D, nor ! F below; or
                                                                       E,

 Bd         Payment to begin immediately (may be combined with tr C,   I D, or ffF belowl; or
 Ctr Payment in equal                                 (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                               (e.g., months or years), to commence                 (e.g.. 30 or 60 days) after the date of this.iudgment; or

       !    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                         (e.g.. months or years), to commence                 (e.g., 30 or 60 days) after release fiom imprisonment to a
            term ofsupelvision; or

       n                                                        within
            Payment during the term of supervised release will commence           (e.g., 30 or 60 days) after release from
            imprisonment. Thecourtwillsetthepaymentplanbasedonanassessmentofthedefendant'sabilitytopayatthattime; or

       (    Special instructions regarding the payment of criminal monetary penalties:


      Defendant shall participate in the BOP Inmate Financial Responsibility Program. During the time of incarceration, monetary
      penalties are payable on a quarterly basis of not less than $25.00 per quarter.

      While on supervised release, monetary penalties are payable on a quarterly basis of not less than $25.00 per quafter or 10% of
      the defendant's net household income, whicheveris larger, commencing 30 days after the defendant is released from
       imprisonment.

 t-lnless the court has exnresslv ordered otherwise. iltlris iudsment imDoses imorisonment. payment of criminal monetary penalties is due
 durins imorisonment. All crirninal monetarv oenalties. tixce"ot those'oavmenis nrade throueh the Federal Bureau ol'Prisons' lnrnate Financial
 Respdnsitiility Program. are made to the lolloirving addi'ess uhtil moneitaiy penalties are paidin lull: Clerk. U.S. District Cour1. Attention:
 Finance. P.O. Box 1493. Spokane. WA 99210-1493.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

 tr    Joint and Several

       Def'endant and Co-Det'endants Names and Case Numbers (including defendant number). Total Anrount, Joint and Several Amount,
       and corresponding payee, if appropriate.




 n     'Ihe defendant shall pay the cost ofprosecution.

 tr    The defendant shall pay the following courl cost(s):

 tr    The defendant shall forfeit the defendant's interest in the follorving property to the United States:




 Payments shall be applied in the lollowing order: (l) assessntent. (2)restitution principal, (3) restitution interest. (4) llne principal.
 (5i fine interest. 16)'cbmmunity restitution', 17) penaities. and (8) costs. including cost bf prosecution and coufl costs.
